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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )       99-cr-40026-JPG
                                              )
WILLIAM L. CURTIS,                            )
                                              )
       Defendant.                             )

                                MEMORANDUM AND ORDER

       This matter comes before the Court on defendant William L. Curtis’s pro se motion for

dismissal of counsel and to reinstate his prior pro se motion for a reduction of sentence pursuant

to 18 U.S.C. § 3582(c)(2) (Doc. 162).

       The Court granted Curtis’s Motion to Appoint Counsel on January 29, 2008, so he is now

represented by the Federal Public Defender. “The right to representation by counsel and self-

representation are mutually exclusive.” Cain v. Peters, 972 F.2d 748, 750 (7th Cir.1992). So-

called “hybrid representation” confuses and extends matters at trial and in other proceedings and,

therefore, it is forbidden. See United States v. Oreye, 263 F.3d 669, 672-73 (7th Cir.2001).

       In this case, the defendant has requested and been granted representation by the Federal

Public Defender. The defendant is free to consult with his attorney in order to ensure that the

Court is fully informed as to the specifics of his case and in order to ensure that the appropriate

motions are filed. However, the Court will strike pro se motions by the defendant so long as he

is represented by counsel. Therefore, the Court ORDERS the defendant’s pro se motion (Doc.

162) be STRICKEN from the record.

IT IS SO ORDERED.
Dated: April 13, 2009
                                                      s/ J. Phil Gilbert
                                                      J. PHIL GILBERT
                                                      U.S. District Judge
